         3:17-cv-03088-SEM-TSH # 20                   Page 1 of 4                                                    E-FILED
                                                                             Tuesday, 05 September, 2017 03:00:19 PM
                                                                                          Clerk, U.S. District Court, ILCD

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS

BRIAN PURSELL,                                            )
                                                          )
         Plaintiff,                                       )
                                                          )
         vs.                                              )             No. 17-3088-SEM-TSH
                                                          )
JEFF KORTE, et al.,                                       )
                                                          )
         Defendants.                                      )

                             ANSWER AND AFFIRMATIVE DEFENSES

         NOW COME Defendants, JEFF KORTE and CAMERON WATSON, by and through

their attorney, Lisa Madigan, Attorney General of the State of Illinois, and pursuant to Federal

Rule of Civil Procedure 8 and Local Rule 16.3(E)(2), provide their Answer and Affirmative

Defenses to Plaintiff’s Amended Complaint [Doc. 12], stating as follows:

                                               ALLEGATIONS1

1.       On 12/7/2016, I arrived at Western Illinois Correctional Center. I was scheduled to be

sent to the Canton Work Camp, but instead I was kept at Western IL C.C.

RESPONSE:
       Defendants admit Plaintiff was transferred to Western Illinois Correctional Center
on December 7, 2016. Defendants lack knowledge or information sufficient to form a belief
about the truth of the remaining allegations in this paragraph.

2.       On 12/16/2016, I was tricked into a room where I was locked in; I hit the button but NO

ONE RESPONDED!

RESPONSE:
        Defendants lack knowledge or information sufficient to form a belief about the truth
of the allegations in this paragraph.




1
  Defendants answer the allegations of the Complaint pursuant to Local Rule 16.3(E)(2) for the Central District of
Illinois because no Merit Review has been entered by the Court.
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3.     I was sexually assaulted by Robert Biggs, inmate M18936.

RESPONSE:
        Defendants lack knowledge or information sufficient to form a belief about the truth
of the allegations in this paragraph.

                                       RELIEF REQUESTED

       RESPONSE: Defendants deny Plaintiff is entitled to any relief whatsoever.

                                          JURY DEMAND

       RESPONSE: Defendants demand a trial by jury.

                                   AFFIRMATIVE DEFENSES

        1.       At all times relevant herein, Defendants acted in good faith in the performance of
their official duties and without violating Plaintiff’s clearly established statutory or constitutional
rights of which a reasonable person would have known. Defendants are therefore protected from
suit by the doctrine of qualified immunity.

         2.      Plaintiff is suing Defendants for the actions of a subordinate in which Defendants
were not directly involved and such claims are barred because the doctrine of respondeat superior
is not a basis for liability under 42 U.S.C. § 1983. See Gentry v. Duckworth, 65 F.3d 555, 561 (7th
Cir. 1995).

      3.      In his complaint, Plaintiff seeks injunctive relief that is not intended to address
ongoing constitutional violations. The Eleventh Amendment and the doctrine of sovereign
immunity bar such claims.

        4.      Plaintiff has filed suit concerning conditions while in the Department of
Corrections. Plaintiff has failed to properly exhaust administrative remedies as is required prior to
filing suit under 42 U.S.C. §1983 and his claims are, therefore, barred by the Prisoner Litigation
Reform Act (42 U.S.C. §1997e(a)) and Perez v. Wisconsin Dept. of Corrections, 182 F. 3d 532
(7th Cir. 1999).
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       WHEREFORE, Defendants respectfully requests that this Court deny Plaintiff any relief

in this matter whatsoever.

                                           Respectfully submitted,

                                           JEFF KORTE and CAMERON WATSON,

                                                  Defendants,

                                           LISA MADIGAN, Attorney General,
                                           State of Illinois,

                                                  Attorney for Defendants,

                                           By: s/ Matthew Teplinsky
                                                Matthew Teplinsky, #6321612
                                                Assistant Attorney General
                                                500 South Second Street
                                                Springfield, IL 62701
                                                (217) 782-5819 Telephone
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                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

BRIAN PURSELL,                                )
                                              )
       Plaintiff,                             )
                                              )
       -vs-                                   )       No. 17-3088-SEM-TSH
                                              )
JEFF KORTE, et al.,                           )
                                              )
       Defendant.                             )

                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 5, 2017, the foregoing document, Defendants’ Answer

and Affirmative Defenses, was electronically filed with the Clerk of the Court using the CM/ECF

system, and I hereby certify that on the same date, I caused a copy of the foregoing described

document to be mailed by United States Postal Service, in an envelope properly addressed and

fully prepaid, to the following non-registered participant:


                                    Brian Pursell
                                    2600A S Belt West
                                    Belleville, Illinois 62226


                                              By: s/ Matthew Teplinsky
                                                   Matthew Teplinsky, #6321612
                                                   Assistant Attorney General
                                                   500 South Second Street
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